      Case 2:22-cv-02968-HB Document 37 Filed 08/09/23 Page 1 of 1



               IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CAROL SCHAFFLING                   :             CIVIL ACTION
                                   :
        V.                         :
                                   :
DANIEL MCPHILLIPS et al.           :              NO. 22-2968

                                 ORDER

         AND NOW, this 9th day of August 2023, it having been

reported to the Court that the issues between the plaintiffs and

defendants have been settled and pursuant to the provisions of

Rule 41.1(b) of the Local Rules of Civil Procedure of this

Court, it is hereby ORDERED that this action is DISMISSED with

prejudice and without costs.



                                            BY THE COURT:


                                            /s/ Harvey Bartle III
                                                                J.
